 

 

17
CaSe ;:07-cv-00009-SS Document 1 Filed 01/04/07 Page 1 of 50

/
JAN 0 4 2007

UNITED STATES DISTRICT COURT SVLE§§‘§§§-§-BLWLM§
BY_
WESTERN DISTRICT 0F TEXAS """*_"EEFUYTEEFR"

AUSTIN DIVISION

MARVIN DUANE LEE, Derivatively on § Civil Action No.
Behalf of ARTHROCARE CORP()RATION, §

A07C"A\009 SS

Plaintiff,
vs.

§
§
§
MICHAEL A. BAKER, MICHAEL THOMAS §
GLUK, FERNANDO V. SANCHEZ, §
RICHARD A. CHRISTENSEN, JOHN H. §
GlROUX, SR., JOHN R. TIGHE, RON §
UNDERWOOD, DAVID APPLEGATE, §
BRUCE PROTHRO, JOHN T. RAFFLE, §
JEAN A. WOLOSZKO, BARBARA D. §
BOYAN, DAVID F. FITZGERALD, JAMES §
G. FOSTER, TORD B. LENDAU, JERRY P. §
WIDMAN and PETER L. WILSON, §
§

§

§

§

§

§

§

§

§

Defendants,
- and -

ARTHROCARE CORPOMTION, a
Delaware corporation,

Nominal Defendant.
DEMAND FOR JURY TRIAL

 

 

VERIFIED SHAREHGLDER DERIVATIVE COMPLAlNT FOR VIOLATIONS OF
THE FEDERAL SECURITIES LAWS AND STATE LAW CLAIMS FOR BREACH OF
FIDUCIARY DUTY, ABUSE OF CONTROL, CORPORATE WASTE, GRQSS
MISMANAGEMENT, CONSTRUCTIVE FRAUD, UNJUST ENRICHMENT, BREACH

l OF CONTRACT AND ACTION FOR ACCOUNTING

 

 

Case 1:O7-cv-OOOOQ-SS Document 1 Filed 01/04/07 Page 2 of 50

NATURE OF`THE ACTION

l. This is a shareholder derivative action brought by a shareholder of ArthroCare
Corporation (“ArthroCare” or the “Company”) on behalf of the Company against its Board of
Directors and certain of its senior executives (collectively7 “Defendants”). This action seeks to
remedy Defendants’ violations of federal and state law, including breaches of fiduciary duty, abuse
of control, constructive fraud, corporate waste, unjust enrichment and gross mismanagement, arising
out of a scheme and Wrongful course of business whereby Defendants allowed senior ArthroCare
insiders to divert hundreds of millions of dollars of corporate assets to themselves and other
employees via~the manipulation of grant dates associated with hundreds of thousands of stock
options granted to ArthroCare insiders. Each of the Defendants also participated in the concealment
of the backdating option scheme complained of herein and/or refused to take advantage of the
Company’s leg:al rights to require these senior insiders to disgorge the hundreds of millions in
illicitly obtaine:l_ incentive compensation and proceeds diverted to corporate employees from 1996 to
the present

2. Betvveen 1996 and 2006, Defendants also caused ArthroCare to file false and
misleading statements with the Securities and Exchange Commission (“SEC”), including Proxy
Statements filed With the SEC which stated that the options granted by ArthroCare carried with them
an exercise price that Was not less than the fair market value of ArthroCare stock on the date of
grant and issuance

3. ln fact, Defendants Were aware that the practices employed by the Board allowed the
stock option grants to be backdated to dates when the Company’s shares Were trading at or near the
lowest price for that relevant period. By August 2006, Defendants’ backdating scheme had yielded

stock option grants to the Company’s executive officers worth millions of dollars. These grants

were included in more than $63 million in stock sale proceeds for Defendants.
_ 1 _

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 3 of 50

4. Defendants’ misrepresentations and Wrongful course of conduct violated the
Securities Exchange Act of 1934 (the “Exchange Act”), as Well as Texas and Delaware laW. By
authorizing and/or acquiescing in the stock option backdating scheme, Defendants: (i) caused
ArthroCare to issue false statements; (ii) diverted hundreds of millions of dollars of corporate assets
to senior ArthroCare executives; and (iii) subjected ArthroCare to potential liability from regulators
including the SEC and the IRS.

5. Defendants’ gross mismanagement and malfeasance over the past decade has exposed
ArthroCare and its senior executives to criminal and civil liability for issuing false and misleading
financial statements Specifically, Defendants caused or allowed ArthroCare to issue statements that
failed to disclose or misstated the following: (i) that the Company had problems with its internal

controls that prevented it from issuing accurate financialreports and projections; (ii) that because of

\ ~ 1 improperly recorded stock-based;compensat~ion expenses, the C'ompany’s financial results violated

Generally Accepted Accounting t Pn`nciples (F‘GAAP”);' and (iii) that the Company’s public
disclosures presented an inflated view of ArthroCare’s earnings and earnings per share.

6. Defendants’ malfeasance and mismanagement during the relevant period has wreaked
hundreds of millions of dollars of damages on ArthroCare The Company’s senior executives were
incentivized to over-pay themselves, to profit from their misconduct by cashing in on under-priced
stock options and to issue false financial statements to cover up their misdeeds Defendants’
breaches of fiduciary duties in the administration of the Company’s stock option plans so polluted
the plans with grant date manipulations so as to void all grants made pursuant to the plans. The
Company has now been mentioned as one of several companies likely to have manipulated options.
Meanwhile, certain of the Defendants, who received under-priced stock options and/or knew

material non-public information regarding ArthroCare’s internal control problems, abused their

 

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 4 of 50

fiduciary relationship with the Company by selling over $63 million worth of their personally held
shares at artificially inflated prices during the relevant period. This action seeks recovery for
ArthroCare against these faithless fiduciaries, as ArthroCare’s Board of Directors, as currently
composed, is simply unable or unwilling to do so.

JURISDICTION AND VENUE

7. The claims asserted herein arise under §14(a) of the Exchange Act, 15 U.S.C.
§78n(a), and under state law for breach of fiduciary duty, abuse of control, constructive fraud,
corporate Waste, unjust enrichment and gross mismanagement ln connection with the acts, conduct
and other Wrongs complained of herein, defendants, directly or indirectly, used the means and
instrumentalities of interstate commerce, the United Statcs mail and the facilities of a national
securities market.

, 8., s This Court has subject matter jurisdiction pursuant to §27 of the Exchange Act, 15
_ U.S.C. §78aa, as well as 23 U._S.,C,. §1331. This C_ourt also has supplemental jurisdiction over the
' state law claims asserted herein pursuant to 28 U.S.C. §1367.

9. This action is not a collusive one to confer jurisdiction on a court of the United Statcs
which it Would not otherwise have.

10. Venue is proper in this district pursuant to §27 of the Exchange Act, 15 U.S.C. §78aa,
as Well as 28 U.S.C. §1391(b). Many of the acts charged herein, including the preparation and
dissemination of materially false and misleading information, occurred in substantial part in this
District. ArthroCare is located in and conducts its business in this District. Further, Defendants
conduct business in thi_s District, a_nd certain of the Defendants are citizens of Texas and reside in

this District.

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 5 of 50

PARTIES

1 1. Plaintiff Marvin Duane Lee, is a shareholder of ArthroCarc, and holds and has
continually held ArthroCare stock since 1996.

12. Nominal party ArthroCare is a Delaware corporation with its principal executive
offices located at 111 Congress Avenue, Suite 510, Austin, Texas 78701.

13. Defendant Michael A. Baker (“Baker”) has been a director, President and Chief
Executive Officer (“CEO”) of ArthroCare since July 1997. Because of Baker’s positions, he knew
the adverse non-public information about the business of ArthroCare, as well as its finances, markets
and present and future business prospects, via access to internal corporate documents, conversations
and connections with other corporate officers and employees, attendance at management and/or
Board meetings and committees thereof and via reports and other information provided to him in
connection _t_herewith. During the relevant .period, Baker participated in the issuance of false and/or
misleading statements, including the preparation of the false and/or misleading press releases and
SEC filings'.' Based on his knowledge of material non-public information regarding the Company,
defendant Baker sold 597,8()0 shares of ArthroCare stock for proceeds of over $25.6 million during
the relevant period. Defendant Baker may be served at 111 Congress Avenue, Suite 510, Austin,
Texas 78701.

14. Defendant Michael Thomas Gluk (“Gluk”) joined ArthroCare in December 2004 and
has served as Senior Vice President and ChiefFinancial Officer (“CFO”) of the Company since that
time. Because of Gluk’s positions, he knew the adverse non-public information about the business
of ArthroCare, as well as its finances, markets and present and future business prospects, via access
to internal corporate documents, conversations and connections With other corporate officers and
employees, attendance at management meetings and via reports and other information provided to

f him in connection therewith Defendant Gluk, by his specialized financial expertise, was in aunique
_ 4 _

 

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 6 of 50

position to understand the business of ArthroCare as Well as its finances, markets and present and
future business prospects During the relevant period, Gluk participated in the issuance of false
and/ or misleading statements, including the preparation of the false and/ or misleading press releases
and SEC filings Based on his knowledge of material non-public information regarding the
Company, defendant Gluk sold 1,150 shares of ArthroCare stock for proceeds of $52,900 during the
relevant period. Defendant Gluk may be served at 1 11 Congress Avenue, Suite 510, Austin, Texas
78701.

15. Defendant Fernando V. Sanchez (“Sanchez”) has served as Senior Vice President of
Business Development since March 2002. In May 2002, Sanchez Was appointed to the position of
CFO and Assistant Secretary of ArthroCare and served in this capacity until December 2004.
Because of Sanchez’s positions, he knew the.adverse non-public information about the business of

ArthroCare, as well as its iinances, markets and present and future business prospects, via access to

' . internal corporate documents conversations and connections With other corporate officers and

employees attendance at management meetings and via reports and other information provided to
him i`n connection therewith Defendant Sanchez7 by his specialized financial expertise, Was in a
unique position to understand the business of ArthroCare as well as its finances, markets and present
and future business prospects During the relevant period, Sanchez participated in the issuance of
false and/or misleading statements, including the preparation of the false and/or misleading press
releases and SEC filings Based on his knowledge of material non-public information regarding the
Company, defendant Sanchez sold 74,220 shares of ArthroCare stock for proceeds of over $3.3
million during the relevant period. Defendant Sanchez may be served at 111 Congress Avenue,

Suite 510, Austin, Texas 78701.

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 7 of 50

16. Defendant Richard A. Christensen (“Christensen”) has served as Senior Vice
President, Operations of ArthroCare since August 2002 and became Administrative Manager for
ArthroCare Costa Rica SRL in August 2003. Because of Christensen’s positions he knew the
adverse non-public information about the business of ArthroCare, as well as its finances markets
and present and future business prospects via access to internal corporate documents conversations
and connections with other corporate officers and employees attendance at management meetings
and via reports and other information provided to him in connection therewith During the relevant
period, Christensen participated in the issuance of false and/ or misleading statements including the
preparation of the false and/or misleading press releases and SEC filings Based on his knowledge
of material non-public information regarding the Company, defendant Christensen sold 112,500
shares of ArthroCare stock for proceeds of over $3 .8 million during the relevant period. Defendant
4 Sanchez maybe served at 111 Congress Avenue, Suite 510, Austin, Texas 78701.

17. Defendant John H. Giroux, S__r. (“Giroux”) has served as a President, ArthroCare
Sports Medicine, a business unit of ArthroCare, since November 2004. Previously, Giroux served as
Senior Vice President, Surgical Business Uriits of ArthroCare from October 2002 until his promotion
in 2004. Because of Giroux’s positions he knew the adverse non-public information about the
business of ArthroCare, as well as its finances markets and present and future business prospects,
via access to internal corporate documents, conversations and connections with other corporate
officers and employees, attendance at management meetings and via reports and other information
provided to him in connection therewith During the relevant period, Giroux participated in the
issuance of false and/or misleading statements including the preparation of the false and/or
misleading press releases and SEC filings Based on his knowledge of material non-public

information regarding the Company, defendant Giroux sold 215,216 shares of ArthroCare stock for

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 8 of 50

 

proceeds of over $8.6 million during the relevant period, Defendant Giroux may be served at 111
Congress Avenue, Suite 510, Austin, Texas 78701.

18. Defendant John R. Tighe (“Tighe”) was Senior Vice President, General Manager of
Strategic Business Units of ArthroCare from September 2004 until June 2006. Previously,` Tighe
served as the Director of Sales of ArthroCare in May 1995 and was promoted to Vice President,
Worldwide Sales and Marketing in January 1999 until his promotion to his current position in 2004.
Because of Tighe’s positions he knew the adverse non-public information about the business of
ArthroCare, as well as its finances markets and present and future business prospects via access to
internal corporate documents conversations and connections with other corporate officers and
employees attendance at management meetings and via reports and other information provided to
‘_ him in connection therewith During the relevant period, Tighe participated in the issuance of false
and/or misleading statements including the preparation of the false and/or misleading press releases
and SEC filings Based on his knowledge of material non-public information regarding the
Company, defendant Tighe sold 307,707 shares of ArthroCare stock for proceeds of over $10.8
million during the relevant period. Defendant Tighe.may be served at 111 Congress Avenue, Suite
510, Austin, Texas 78701.

19. Defendant Ron Underwood (“Underwood”) has been Vice President and General
Manager of ArthroCare ENT and Visage, a division of ArthroCare, since 2004. Previously,
Underwood served as the Director of New Products of ArthroCare from 1997 until his promotion to
his current position in 2004. Because of Underwood’s positions he knew the adverse non-public _
information about the business o_fArthroCare, as well as its finances markets and present and future
business,prospects via access to internal corporate documents conversations and connections with

other corporate officers and employees attendance at management meetings and via reports and

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 9 of 50

other information provided to him in connection therewith During the relevant period, Underwood
participated in the issuance of false and/or misleading statements including the preparation of the
false and/or misleading press releases and SEC filings Based on his knowledge of material non-
public information regarding the Company, defendant Underwood sold 30,125 shares of ArthroCare
stock for proceeds of over $853,344 during the relevant period. Defendant Underwood may be
served at 111 Congress Avenue, Suite 510, Austin, Texas 78701.

20. Defendant David Applegate (“Applegate”) has been Vice President, General
Manager, ArthroCare Spine, a division of ArthroCare, since 2004. Previously, Applegate served as
Vice President and General Manager of the Visage Cosmetic Business Unit of ArthroCare from
2001 until late 2003, when he became Vice President and General Manager of ArthroCare ENT from
late 2000 through early_ 2004, when he was promoted to his current position Because of
Applegate’s positions he knew the adverse non-public information about the business of
ArthroCare, as well as its finances markets and present and future business prospects via access to
internal corporate documents conversations and connections with other corporate officers and
employees attendance at management meetings and via reports and other information provided to
him in connection therewith During the relevant period, Applegate participated in the issuance of
false and/ or misleading statements including the preparation of the false and/or misleading press
releases and SEC filings Based on his knowledge of material non-public information regarding the
Company, defendant Applegate sold 10,000 shares of ArthroCare stock for proceeds of 3278,758
during the relevant period, Defendant Applegate may be served at 1 1 1 Congress Avenue, Suite 5107
Austin, Texas 78701.

21 ._ Defendant Bruce Prothro (“Prothro”) has been Vice President and General Manager,

Coblation Technologies and Regulatory Affairs of ArthroCare since November 2002. Previously,

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 10 of 50

Prothro served as Vice President, Regulatory Affairs and Quality Assurance of Arthrocare from
October 1998 until April 2002, when he became Vice President, Operational Planning. Defendant
Prothro served in this position until his promotion to his current position in November 2002.
Because of Prothro’s positions he knew the adverse non-public information about the business of
ArthroCare, as well as its finances markets and present and future business prospects via access to
internal corporate documents conversations and connections With other corporate officers and
employees attendance at management meetings and via reports and other information provided to
him in connection therewith During the relevant period, Prothro participated in the issuance of false
and/or misleading statements including the preparation of the false and/or misleading press releases
and SEC filings Based on his knowledge of material non-public information regarding the
Company, defendant Prothro sold 30, 125 shares of ArthroCare stock for proceeds of over $853,344
- during the relevant period, Defendant Prothro may be served at 111 Congress Avenue, Suite 510,
Austin, Texas 78701.

22. Defendant John T. Raffle (“Raffle”) has'been Vice President, Corporate Development
g and Legal Affairs of ArthroCare since June 2001. Previously, Raffle served as Director, lntellectual
Property of ArthroCare from September 1997 until he was promoted in January 2001 to Managing
Director, Corporate Development and Legal Affairs. Raffle served in this position until his
promotion to his current position in June 2001 . Because of Raffle’s positions he knew the adverse
non-public information about the business of ArthroCare, as well as its finances markets and present
and future business prospects via access to internal corporate documents conversations and
connections with other corporate officers and employees attendance at management meetings and
via reports and other information provided to him in connection therewith During the relevant

period, Raffle participated in the issuance of false and/or misleading statements including the

 

i_l

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 11 of 50

preparation of the false and/or misleading press releases and SEC filings Based on his knowledge
of material non-public information regarding the Company7 defendant Raffle sold 136,442 shares of
ArthroCare stock for proceeds of over $5 million during the relevant period. Defendant Raffle may
be served at 111 Congress Avenue, Suite 510, Austin, Texas 78701.

23. Defendant Jean A. Woloszko (“Woloszko”) has served as Vice President, Chief
Technical and Scientific Officer of ArthroCare since 2003. Previously, Woloszko was Medical l
Director of ArthroCare from 1998 until 1999, when he was promoted to Vice President Research and
Development of ArthroCare and served in this capacity until his promotion to his current position in l
2003. Because of Woloszko’s positions he knew the adverse non-public information about the
business of ArthroCare, as well as its finances markets and present and future business prospects
via access to internal corporate documents conversations and connections with other corporate

7 officers and employees attendance-at management meetings and via reports and other information
provided to him in connection therewith During the relevant period, Woloszko participated in the y
issuance of false and/or misleading statements including the preparation of the false and/or
misleading press releases and SEC filings Based on his knowledge of material non-public
information regarding the Company, defendant Woloszko sold 21 ,360 shares of ArthroCare stock for
proceeds of $629,525 during the relevant period. Defendant Woloszko may be served at 111 1
Congress Avenue, Suite 510, Austin, Texas 78701.

24. Defendant Barbara D. Boyan (“Boyan”) has been a director of ArthroCare since
March 2004. Because of Boyan’s position, she knew the adverse non-public information about the
business of ArthroCare, as well as its finances markets and present and future business prospects
v_ia access to internal corporate documents conversations and connections with other corporate

officers and employees attendance at Board meetings and committees thereof and via reports and

_1()_

 

Case 1:07-cv-00009-SS Document 1 "Filed 01/04/07 Page 12 of 50

 

other information provided to her in connection therewith As a member of the Compensation
Committee, defendant Boyan controlled the other Defendants’ stock option awards As a member of
the Nominating and Corporate Govemance Committee, defendant Boyan caused or allowed the
dissemination of the improper public statements described herein. During the relevant period, Boyan
participated in the issuance of false and/or misleading statements including the preparation of the
false and/or misleading press releases and SEC filings Defendant Boyan may be served at 898
Byrnwyck Drive, Atlanta, Georgia 30319.

25. Defendant David F. Fitzgerald (“Fitzgerald”) has been a director of ArthroCare since
April 2003. Because of Fitzgerald’s position, he knew the adverse non-public information about the
business of ArthroCare, as well as its finances markets and present and future business prospects
via access to internal corporate documents conversations and connections with other corporate
officers and employees attendance at Board.meetings and committees thereof and via reports and
' other`information provided to him in connection therewith As a member of the Audit Committee,
defendant Fitzgerald caused or allowed the dissemination of the improper public statements
described herein. As a member (Chair) of the Compensation Committee, defendant Fitzgerald
controlled the other Defendants’ stock option awards During the relevant period, Fitzgerald
participated in the issuance of false and/or misleading statements including the preparation of the
false and/or misleading press releases and SEC filings Defendant Fitzgcrald may be served at 111
Congress Avenue, Suite 510, Austin, Texas 78701.

26. Defendant J ames G. Foster (“Foster”) has been a director of ArthroCare since August
2002. Because of Foster’s position, he knew the adverse non-public information about the business
of ArthroCare, as well as its finances markets and present and future business prospects via access

to internal corporate documents conversations and connections with other corporate officers and

-11_

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 13 of 50

employees attendance at Board meetings and committees thereof and via reports and other
information provided to him in connection therewith As a member of the Nominating and
Corporate Govemance Committee, defendant Foster caused or allowed the dissemination of the
improper public statements described herein. As a member of the Compensation Committee,
defendant Foster controlled the other Defendants’ stock option awards During the relevant period,
Foster participated in the issuance of false and/ or misleading statements including the preparation of
the false and/or misleading press releases and SEC filings Defendant Foster may be served at 4707
Sunnyside Road, Edina, Minnesota 55424.

27. Defendant Tord B. Lendau (“Lendau”) has been a director of ArthroCare since June
2001 . Because of Lendau’s position, he knew the adverse non-public information about the business
of ArthroCare, as well as its finances markets and present and future business prospects via access
to internal corporate documents conversations and connections with other corporate officers and
employees attendance at Board meetings and committees thereof and via reports and other
information provided to him in connection therewith As a member (Chair) of the Nominating and
Corporate Govemance Committee, defendant Lendau caused or allowed the dissemination of the
improper public statements described herein. During the relevant period, Lendau participated in the
issuance of false and/or misleading statements including the preparation of the false and/or
misleading press releases and SEC filings Defendant Lendau may be served at 111 Congress
Avenue, Suite 510, Austin, Texas 78701.

28. Defendant Jerry P. Widman (“Widman”) has been a director of ArthroCare since
November 2002. Because of Widman’ s position, he knew the adverse non-public information about
the business of _ArthroCare, as well as its finances markets and present and future business

prospects via access to internal corporate documents conversations and connections with other

_12_

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 14 of 50

corporate officers and employees attendance at Board meetings and committees thereof and via
reports and other-information provided to him in connection therewith As a member (Chair) of the
Audit Committee, defendant Widman allowed the dissemination of the improper public statements
described herein. During the relevant period, Widman participated in the issuance of false and/or
misleading statements including the preparation of the false and/or misleading press releases and
SEC filings Based on his knowledge of material non-public information regarding the Company,
defendant Widman sold 25,000 shares of ArthroCare stock for proceeds of over $1 million during
the relevant period. Defendant Widman may be served at 30914 Kilgour Drive, Westlake, Ohio
44145.

29. Defendant Peter L. Wilson (“Wilson”) has been a director of ArthroCare since June
2001 . Because ofWilson’ s position, he knew the advers§,non-public information about the business
of ArthroCare, as well as its finances marketsand present and future business prospects via access
to internal corporate documents conversations and connections with other corporate officers and
employees attendance at Board meetings and committees thereof and via reports and other
information provided to him in connection therewith As a member of the Audit Committee,
defendant Wilson allowed the dissemination of false statements alleged herein. As a member of the
Compensation Committee, defendant Wilson controlled the other Defendants’ stock option awards
During the relevant period, Wilson participated in the issuance of false and/ or misleading statements
including the preparation of the false and/ or misleading press releases and SEC filings Based on his
knowledge of material non-public information regarding the Company, defendant Wilson sold 1,500
shares.of ArthroCare stock for proceeds of $69,690 during the relevant period, Defendant Wilson

may be served at 186 Nearwater Lane, Darien, Connecticut 06820.

_13_

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 15 of 50

 

30. The defendants identified in 1111 3 and 24-29 are referred to herein as the “Director
Defendants” The defendants identified in 11113-23 are referred to herein as the “Officer
Defendants.” The defendants identified in 11113-23 and 28-29 are referred to herein as the “Insider

Selling Defendants.”

DEFENDANTS’ DUTIES

31. Each officer and director of ArthroCare named herein owed the Company and
ArthroCare shareholders the duty to exercise a high degree of care, loyalty and diligence in the
management and administration of the affairs of the Company, as well as in the use and preservation
of its property and assets The conduct of ArthroCare’s directors and officers complained of herein
involves knowing, intentional and culpable violations of their obligations as officers and directors of
ArthroCare Further‘,¥__tlhe misconduct of ArthroCare’s officers has been ratified by ArthroCare’s
Board, which has failed to take any legal action _on behalf of the Company against them.

32.' By reason of their positions asofficers, directors and fiduciaries of ArthroCare and
because of their ability to control the business and corporate affairs of the Company, the Defendants
owed ArthroCare and its shareholders fiduciary obligations of candor, trust, loyalty and care, and
were required to use their ability to control and manage ArthroCare in a fair, just, honest and
equitable manner, and to act in furtherance of the best interests of ArthroCare and its shareholders so
as to benefit all shareholders equally and not in furtherance of their personal interest or benefit ln
addition, as officers and/or directors of a publicly held company, the Defendants had a duty to
refrain from utilizing their control over ArthroCare to divert assets to themselves via improper
and/ or unlawful practices Defendants also had a duty to promptly disseminate accurate and truthful
information with respect to the Company’s operations earnings and compensation practices

33. Because of their positions of control and authority as directors or officers of

ArthroCare, each of the Defendants was able to and did, directly and indirectly, control the wrongful
_14_

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 16 of 50

acts complained of herein. As to the Director Defendants these acts include: (i) agreement to and/or
acquiescence in Defendants’ option backdating scheme; (ii) willingness to cause ArthroCare to
disseminate false Proxy Statements for 1996-2006, which Proxy Statements failed to disclose
Defendants’ option backdating scheme and omitted the fact that executive officers were allowed to
backdate their stock option grants in order to manipulate the strike price of the stock options they
received. Because of their positions with ArthroCare, each of the Defendants was aware of these
wrongful acts had access to adverse non-public information and was required to disclose these facts
promptly and accurately to ArthroCare shareholders and the financial markets but failed to do so.

34. Between 1996 and 2006, Defendants concealed that the stock option grants had been
repeatedly and consciously backdated to ensure that the strike price associated with the option grants
was at or near the lowest trading price for that fiscal period, Due to Defendants’ breach of their
fiduciary duty in the administration of the stock option plans plaintiff seeks to have the directors’
and officers’ plans voided and gains from those plans returned to rfhc Company. ln the alternative,
plaintiff seeks to have all of the unexercised options granted to defendants from as early as 1996 to
2002 cancelled, the financial gains obtained via the exercise of such options returned to the
Company and to have Defendants revise the Company’s financial statements to reflect the truth
concerning these option grants

35. To discharge their duties the directors of ArthroCare were required to exercise
reasonable and prudent supervision over the management policies practices and controls of the
business and financial affairs of ArthroCare By virtue of such duties the officers and directors of

ArthroCare were required, among other things to:

_15-

 

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01`/04/07 Page 17 of 50

(a) manage, conduct, supervise and direct the business affairs of ArthroCare in
accordance with all applicable law (including federal and state laws government rules and
regulations and the charter and bylaws of ArthroCare);

(b) neither engage in self-dealing nor knowingly permit any officer, director or
employee of ArthroCare to engage in self-dealing;

(c) neither violate nor knowingly permit any officer, director or employee of
ArthroCare to violate applicable laws rules and regulations v

(d) remain informed as to the status of ArthroCare’s operations including its
practices in relation to the cost of allowing the pervasive backdating and improperly accounting for
such, and upon receipt of notice or information of imprudent or unsound practices to make a

g reasonable inquiry in connection therewith, and to take steps to correct such conditions or practices
and make such disclosures as are necessary to comply with the U.S. federal securities laws and their
duty of candor to the Company’:§ shareholders 7
(e) prudently protect the Company’ s assets including taking all necessary steps to
jr recover corporate assets (cash, stock options) improperly paid to Company executives and directors
together with the related costs (professional fees) proximately caused by the illegal conduct
described herein;

(f) establish and maintain systematic and accurate records and reports of the
business and affairs of ArthroCare and procedures for the reporting of the business and affairs to the
Board of Directors and to periodically investigate, or cause independent investigation to be made of,
said reports and records;

(g) maintain and implement an adequate7 functioning system of internal legal7

financial and accounting controls such that ArthroCare’s financial statements - including its

_]6_

 

 

` Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 18 of 50

expenses accounting for stock option grants and other financial infonnation- would be accurate and
the actions of its directors would be in accordance with all applicable laws;

(h) exercise control and supervision over the public statements to the securities
markets and trading in ArthroCare stock by the officers and employees of ArthroCare; and

(i) supervise the preparation and filing of any financial reports or other
information required by law from ArthroCare and to examine and evaluate any reports of
examinations audits or other financial information concerning the financial affairs of ArthroCare
and to make full and accurate disclosure of all material facts conceming, inter alia, each of the
subjects and duties set forth above.

36. Each Defendant, by virtue of his or her position as a director and/or officer, owed to
the Company and to its shareholders the fiduciary duties of loyalty, good faith and the exercise of
due care and diligence in the management and administration of the affairs of the Company, as well
as in the use and preservation of its property and assets The conduct of the Defendants complained
of herein involves a knowing and culpable violation of their obligations as directors and/or officers
of ArthroCare, the absence of good faith on their part, and a reckless disregard for their duties to the
Company and its shareholders which Defendants were aware or should have been aware posed a
risk of serious injury to the Company. The conduct of the Defendants who were officers and/or
directors of the Company during the relevant period has been ratified by the Director Defendants
who comprised ArthroCare’s entire Board during the relevant period.

37 . Defendants breached their duties of loyalty and good faith by allowing or by
themselves causing the Company to misrepresent its financial results and prospects as detailed

herein infra, and by failing to prevent the Defendants from taking such illegal actions As a result,

-17_

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 19 of 50

ArthroCare has expended and will continue to expend significant sums of money. Such expenditures
include, but are not limited to:
(a) improvidently paid executive compensation;
(h) increased capital costs as a result of the loss of market capitalization and the
Company’s damaged reputation in the investment community;
g (c) costs incurred to carry out internal investigations including legal fees paid to
outside counsel; and
(d) incurring possible IRS penalties for improperly reporting compensation
3 8. These actions have irreparably damaged ArthroCare’s corporate image and goodwill.
F or at least the foreseeable future, ArthroCare will suffer from what is known as the “1iar’s
discount,” a term applied to the stocks of companies who have been implicated in illegal behavior
and have misled the investing public, such that ArthroCare’»s ability to raise equity capital or debt on
favorable terms in the future is now impaired.

AIDING AND ABETTING AND CONCERTED ACTION

39. ln committing the wrongful acts alleged herein, Defendants have pursued or joined in
the pursuit of a common course of conduct and acted in concert With one another in furtherance of
their common plan.

40. During all times relevant hereto, Defendants collectively and individually initiated a
course of conduct which was designed to and did: (i) conceal the fact that the Company was
allowing its directors and senior officers to divert hundreds of millions of dollars to ArthroCare
insiders and directors and causing ArthroCare to misrepresent its financial results (ii) maintain
Defendants’ executive and directorial positions at ArthroCare and the profits power and prestige

which Defendants enjoyed as a result of these positions and (iii) deceive the investing public,

_13-

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 20 of 50

 

including shareholders of ArthroCare, regarding Defendants’ compensation practices and
ArthroCare’s financial performance

41 . The purpose and effect of Defendants’ common course of conduct was among other
things to disguise Defendants7 violations of law, breaches of fiduciary duty, abuse of control, gross
mismanagement, corporate waste and unjust enrichment, to conceal adverse information concerning
the Company’s operation and financial condition and to artificially inflate the price of ArthroCare
common stock so they could dispose of millions of dollars of their own ArthroCare stock, and
enhance their executive and directorial positions and receive the substantial compensation they
obtained as a result thereof

42. Defendants accomplished their common enterprise and/ or common course of conduct
by causing the Company to purposefully and/or recklessly engage in the option backdating scheme
alleged herein and misrepresent ArthroCare’ s financial results Each of the Defendants was a direct,
necessary, and substantial participant in the common enterprise and/or common course of conduct
complained of herein.

43. Each of the Defendants aided and abetted and rendered substantial assistance in the
wrongs complained of herein. In taking such actions to substantially assist the commission of the
wrongdoing complained of herein, each Defendant acted with knowledge of the primary
wrongdoing, substantially assisted the accomplishment of that wrongdoing, and was aware of his or
her overall contribution to and furtherance of the wrongdoing

BACKGROUND

44. ArthroCare is a medical device company that develops manufactures and markets
products based on its Coblation technology. The Company has also developed, manufactured and
marketed Coblation-based and complementary products for application in neurology, cosmetic

surgery, urology and gynecology, with research continuing in additional areas The Company
_19_

 

 

'Case 1:07-cv-00009-SS lD'ocument 1 Filed 01/04/07 Page 21 of 50

operates in four segments Sports Medicine; Ear, Nose and Throat; ArthroCare Spine; and Coblation
Technology. ln each of its business units the Company is focused on driving the application of
enabling technologies primarily for plasma-based soft tissue removal and increasing the number of
minimally invasive procedures being performed

45. Throughout the relevant period, Defendants caused ArthroCare to grant them millions
of stock options permitting them to buy ArthroCare stock for pennies on the dollar which they could
in turn sell as the Company’s stock price increased A stock option gives the holder the right to buy
a stock at a certain price in the future. Typically, companies set that price at the same time their
directors approve an option grant, with an exercise price - also known as the “strike price” - usually
set at the closing price of the stock that day, the closing price of the night before or by computing an
average of the high and low prices on the day of the vo_te.

46.' However, many of the millions of options granted to ArthroCare’s executives had a
4 hidden',' valuable component they were misdated, often making them even more significantly
valuable. The misdated stock option grants fell largely into three categories (i) “look back” grants
in which the date of the grant was picked retroactively (e.g., a decision in February to pick a January
date); (ii) “wait and see” grants in which a grant date was selected, but the decision was finalized -
and sometimes changed - at a later date (e.g,, a decision on January 1 to issue a grant on January 15,
but there is a period after January 15 in which the grantor waits to see if a more advantageous price
occurs and, if one does uses that later date instead); and (iii) grants where there was a failure to
complete the option grant process by the date of the grant (e.g., where there is a decision to issue a
grant as of a certain date, but after that date there are changes in the grantees or amounts to grantees
and although the work is not complete on those grants as of the stated grant date, that date is

nonetheless used).

_20_

 

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 22 of 50

STOCK OPTION GRANTS

47. Certain of ArthroCare’s manipulative stock option grants are described below
(unadjusted for subsequent stock splits):

1999 Option Grants

48. Defendants dated most of ArthroCare’s options to top officers as of August 31, 1999
at $34.75 per share, just a week before the stock increased to $54.13 per share - a risk-free gain of
almost 320 per option. Defendants Tighe, Baker and Prothro received 15,000, 40,000 and 10,000
options respectively, at the $34.75 per share exercise price. Defendants dated others of
ArthroCare’s 1999 options to top executives as of March 1, 1999 at $ 14.00 per share -the low of the
month The stock reached $18.12 per share in March 1999. Defendant Tighe received 30,000
options at_this exerciseprice.

2000 Option Grants

49. Defendants dated most of ArthroCare’s options to top executives in 2000 as of J unc

21 , 2000 at $23.00 per share -the low of the month The stock reached $42.31 per share in June

l 2000. Defendants Baker, l’rothro, Tighe and Woloszko received 80,000, 40,000, 40,000 and 40,000
options respectively, at this exercise price. Defendants dated the remainder of ArthroCare’s 2000
options to top officers as of October 20, 2000 at $l6.75 per share - one trading day before the stock
reached 822.62 per share. Defendants Tighe, Baker, Prothro and Woloszko each received 10,000
options at the $16.75 per share exercise price.

2001 Option Grants

50. Defendants dated all of ArthroCare’s 2001 options to top executives as of July 3'0,
2001 at $27.56 per share - near the low of the month - just three days before the stock reached
$32.10 per share. Defendants Baker and Tighe received 120,000 and 30,000 options respectively, at

this exercise price.

_21_

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 23 of 50

2002 Option Grants

51.

2002 at 810.00 per share ~ near the low of the month The stock reached $13.45 per share in June

2002.

Defendants dated many of ArthroCare’s 2002 options to top executives as of June 7,

Defendants Baker, Raffle and Tighe received 30,000, 15,000 and 15,000 options

' respectively, at this exercise price.

52.‘

$19

$18

$17

$16

DO|lGl'S PSF Sl'l@l’e

$15

$14

$13

 

Below are certain of ArthroCare’s stock option grants which occurred right before

significant stock price increases (adjusted for stock splits):

 

 
   

 

 

 

ArthroCare Corp.
Dai|y Share Fricing: Fehruary 1, 1999 to March 31, 1999
3/1/1999
i i` l l l i i i l
02/01!1990 02.-'11/1999 02!24,/1999 03!08/‘1999 03!181‘1999 03130!1999
urine/1999 02/1311999 oa/ozriaea oatizriaaa 03.-041‘1999

_22_

 

 

Case 1:07-c\/-00009-SS Document 1 Filed 01/04/07 Page 24 of 50

 

 

 

 

 

 

 

 

 

 

 

ArthroCare Corp.
Dai|y Share Pricing: July 30, 1999 to October 1,1999
365
1360 ~
8/31/1999
$55 *~
a $60 -
§
£
U.l
dam ~
§
§
$40 ~
1535 -
$30 -
$25 irl-in yl a ".`i.¢` 111 l l i i 1 i
07/30/1999 08113/1999 08/27/1999 09/13/1999 09/2?11999
09!06!1999 7 g 08/20!1999. ...._ 09/03{1999 09/20/1999
| .
ArthroCare Cerp.
Dai|y Share Frij':ing: September 20, 2000 ta Novenher 20, 2000
$35 ' l ‘
$30 ~
10/20/2000
§ $25 -
_E
(D
a
CL
a
§
§ 1520 -
1315 -
$.I 0 | | l 1 l | l 1 t
09/'20/2000 io/o¢irzooo 1 orr amoco 1 1101/2000 1015/2000

09./27!2000 10/11/2000 10/25!2000 11108/2000

_23_

Dollar's PerSt‘iare

Do||ars Per Snare

 

0

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 25 of 50

 

 

 

 

 

 

 
   

 

 

ArthroCare Corp.
Dai|y Share Pricing:June 29. 2001 to August 30. 2001
$33
$32
7/30)'2001
$31
$30
1529
1328
$27
$26
$25 l i i i l l l i i ______
06129£2001 0?/16/2001 07/301'2001 08/13/2001 08/2?/2001
0?!09/2001 0?/23/2001 0810612001 08/20/2001
' ' ArthroCare Corp.
Dai|y $hare Pricing: May 7,;2002 to Ju|y B. 2002
sir `
$16
15

f | a/r/zoaz

$14

$13

$12 ’

$l 1

1510

$9 v bi i l 1 i l i 1 i
o§/or/:oo;»' 05r21 12002 acree/2002 carte/2002 U?/osr;'oo?
oatis/2002 05!29/2002 06/1 212002 06/2612002

_24_

 

 

Case 1:07-cv-00009-SS Document 1 Fi/|'ed 01/04/0'7 Page 26 of 50

53. Complicating matters and magnifying the harm to ArthroCare, during the relevant
period, ArthroCare’s internal controls and accounting controls with respect to option grants and

exercises and its financial reporting, were grossly inadequate The weaknesses allowed dates of

` both grants and exercises to be manipulated and the Company’s executive compensation expenses to

be materially understated They also allowed grant dates to be changed to provide executives with
more favorably priced options in effect auginenting their compensation, with no benefit running to
the Company.

54. Specifically, in many instances the reported dates ArthroCare stock options were
granted differed from the dates on which the options appear to have been actually granted The
practice applied to the overwhelming majority of stock option grants made during the relevant
period, which allowed executives and employees to make more money on their options because it set
a lower “strike price” at which the options could be exercised, allowing employees to take larger
profitsw`hen the stock price later rose.

55. Through their fiduciary duties of care, good faith and loyalty, Defendants owed to
ArthroCare a duty to ensure that the Company’s financial reporting fairly presented, in all material
respects the operations and financial condition of the Company. ln order to adequately carry out
these duties it is necessary for the Defendants to know and understand the material non-public
information to be either disclosed or omitted from the Company’s public statements This material
non-public information included the problems ArthroCare faced because of its deficient internal
controls Furthermore, defendants Fitzgerald, Wilson and Widman, as members of the Audit
Committee during therelevant period, had a special duty to know and understand this material

information as set out in the Audit Committee’ s charter, which provides that the Audit Committee is

responsible for reviewing, in conjunction with management the Company’ s policies generally with

_25_

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 27 of 50

respect to the Company’s earnings press releases and with respect to financial information and
earnings guidance provided to analysts and rating agencies Defendants as directors or officers of
ArthroCare, had ample opportunity to discuss this material information with fellow directors or
officers at any of the scores of Board or management meetings that occurred during the relevant
period as well as at committee meetings of the Board. Despite these duties Defendants negligently,
recklessly, and/or intentionally caused or allowed, by their actions or inactions the misleading
statements to be disseminated by ArthroCare to the investing public and the Company’s shareholders
during the relevant period.

56. Specifically, since at least 1996, Defendants have caused ArthroCare to report false
and misleading fiscal and quarterly financial results which materially understated its compensation

expenses and thus overstated its earnings as follows:

1 ,, . -.FiscAL YEAR\ ~ ~REPoRTEi)~ v REPoRTEi) DILUTED EARNINGS
EARNINGS (Loss) (Loss) PER sHARE FRoM
(in miiiions) CoNTINUrNG oPERATIoNs
1996 s(7.7i) s(0.49)
1997 s(7.69) s(0.44)
1998 s(2.i4) s(0.i2)
1999 4 _ _ s5.54 s0.27
2000 ‘ s15.s5 $0.68
2001 s10.06 s0.43
2002 si.13 s0.i7
2003 $7.46 s0.34
2004 s(26.i9) sosa
2005 s23.53 s0.96

57. v Meanwhile, Defendants were causing the Company to grant them millions of stock
options many of which were misdated. The Company’s executive directors and officers also
received a significant number of stock options as compensation during the relevant period. ln total,
during the relevant period Defendants caused the Company to grant them millions of stock options

many of which, the evidence will show, were misdated.

_26_

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 28 of 50

58. l\/loreover, throughout the relevant period certain Defendants exercised many of these
stock options contributing to their ability to sell over $63 million worth of ArthroCare stock ~ stock

they obtained often by cashing in under-priced stock options:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DEFENDANT DATES oF SALES SHARES SoLD PRoCEEDs RECEIVED
BAKER 02/04/00~08/14/06 597,800 825,667,248
GLUK 08/10/06 1,150 $52,900
SANCHEZ 11/1 1/03-05/08/06 74,220 $3,326,627
TIGHE 07/26/99~05/12/06 307,707 810,860,500
GiRon 12/02/03-08/28/06 215,216 $8,634,041
APPLEGATE 05/28/04-10/28/04 10,000 $278,758
PRoTHRo 02/02/00-11/09/04 108,000 $3,582,319
RAFFLE 11/27/00-05/15/06 136,442 $5,038,093
WoLoszKo 03/02/01-12/01/04 21,360 $629,525
WIDMAN 05/26/06 25,000 $1,060,750
WiLsoN 02/17/06 1,500 $69,690
CHRISTENSEN 05/12/04~02/15/06 112,500 v $3 ,887 ,47 3
TOTAL 1,610,895 $63,087,924

 

59. Then, on August 23, 2006, ArthroCare filed a Form 8=K about an SEC inquiry into its
ptikapi

ArthroCare Corp., a multi-business medical device company that develops minimally
invasive surgical products announced today that it has received correspondence from
the Securities and Exchange Commission requesting certain documents and
information related to the Company’s stock option grant practices Earlier this year
and prior to receiving this request, the Company undertook an internal review of all
of its equity compensation activities from the time of its initial public offering in
February 1996 to the present Based on the results of this review, the Company
believes that there have been no unusual patterns in the timing or pricing of equity
awards and there is specifically no evidence of backdating of option awards
ArthroCare intends to cooperate fully with all matters related to this request

60. ln effect, during the relevant period, the Defendants caused ArthroCare’s shares to

§ trade at artificially inflated levels by issuing a series of materially false and misleading statements
regarding the Company’s financial statements business and prospects Specifically, Defendants
caused or allowed ArthroCare to issue statements that failed to disclose or misstated the following:

(i) that the Company had problems with its internal controls that prevented it from issuing accurate

_27_

 

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 29 of 50

 

' financial reports and projections (ii) that because of improperly recorded stock-based compensation
expenses the Company’s financial results violated GAAP; and (iii) that the Company’s public
disclosures presented an inflated view of ArthroCare’s earnings and earnings per share

DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

61. ` Plaintiff brings this action derivatively in the right and for the benefit of ArthroCare
to redress injuries suffered and to be suffered by ArthroCare as a direct result of Defendants’
` violations of state and federal law, breaches of fiduciary duty, abuse of control, constructive fraud,
gross mismanagement corporate waste and unjust enrichment as well as the aiding and abetting
thereof, by the Defendants. This is not a collusive action to confer jurisdiction on this Court which it
would not otherwise have

62. § Plaintiff will adequately and fairly represent the interests of ArthroCare and its
§ shareholders in enforcing and prosecuting its rights

63. Plaintiff is an owner of ArthroCare stock and was an owner of ArthroCare stock
during times relevant to Defendants’ illegal and wrongful course of conduct alleged herein.

64. Based upon the facts set forth throughout this Complaint, applicable law and the
longstanding rule that equity does not compel a useless and futile act, a pre-filing demand upon the
ArthroCare Board of Directors to institute this action against the officers and members of the
ArthroCare Board of Directors is excused as futile A pre-filing demand would be a useless and
futile act because: d

(a) 7 The members of ArthroCare’s Board have demonstrated their unwillingness
and/or inability to act in compliance with their fiduciary obligations and/or to sue themselves and/or
their fellow directors and allies in the top ranks of the corporation for the violations of law

complained of herein. These are people they have developed professional relationships with, who

_23_

 

 

Case 1:07-cv-00009-SS Documentl Filed 01/04/07 Page'30 of50

 

are their friends and with whom they have entangling financial alliances interests and dependencies
and therefore, they are not able to and will not vigorously prosecute any such action

(b) The ArthroCare Board of Directors and senior management participated in,
approved and/or permitted the wrongs alleged herein to have occurred and participated in efforts to
conceal or disguise those wrongs from ArthroCare’s stockholders or recklessly and/or negligently
disregarded the wrongs complained of herein, and are therefore not disinterested parties As a result
of their access to and review of internal corporate documents or conversations and connections with
other corporate officers employees and directors and attendance at management and/or Board
meetings each of the Defendants knew the adverse non-public information regarding the improper
stock option grants and financial reporting Pursuant to their specific duties as Board members the
RDirec,tor Defendants are charged with the management of the Company and to conduct its business
affairs.__Defendants breached the fiduciary duties that they owed to ArthroCare and its shareholders
in that they failed to prevent and correct the improper stock option granting and financial reporting
Certain directors are also dominated and controlled by other directors and cannot act independently
of them. Thus the ArthroCare Board cannot exercise independent objective judgment in deciding
whether to bring this action or whether to vigorously prosecute this action because each of its
members participated personally in the wrongdoing or are dependent upon other Defendants who
did.

(c) The acts complained of constitute violations of the fiduciary duties owed by
ArthroCare’s officers and directors and these acts are incapable of ratification

(d) The members of ArthroCare’s Board have benefited, and will continue to

benefit, from the wrongdoing herein alleged and have engaged in such conduct to preserve their

_29_

 

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 31 of 50

positions of control and the perquisites derived thereof, and are incapable of exercising independent
objective judgment in deciding whether to bring this action

(e) Any suit by the current directors of ArthroCare to remedy these wrongs would
likely further expose the liability of Defendants under the federal securities laws which could result
in additional civil and/or criminal actions being filed against one or more of the Defendants thus
they are hopelessly conflicted in making any supposedly independent determination whether to sue
themselves

(f) ArthroCare has been and will continue to be exposed to significant losses due
to the wrongdoing complained of herein, yet the current Board has not filed any lawsuits against
itself or others who were responsible for that wrongful conduct to attempt to recover for ArthroCare
any part of th_e__damages ArthroCaresuffered and will suffer thereby.

(g) ,ln order to properly prosecute this lawsuit, it ;would be necessary for the
directors to sue themselvesand the other Defendants requiring them to expose themselves and their
comrades to millions of dollars in potential civil liability and criminal sanctions or IRS penalties
This they will not do.

(h) ArthroCare’s current and past officers and directors are protected against
personal liability for their acts ofmismanagement, waste and breach of fiduciary duty alleged in this
Complaint by directors’ and officers’ liability insurance which they caused the Company to purchase
for their protection with corporate funds i.e., monies belonging to the stockholders of ArthroCare
However, due to certain changes in the language of directors’ and officers’ liability insurance
policies in the past few years the directors’ and officers’ liability insurance policies covering the
Defendants in this case contain provisions which eliminate coverage for any action brought directly

by ArthroCare against these Defendants known as inter alia, the “insured versus insured

-30_

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 32 of 50

exclusion.” As a result, if these directors were to sue themselves or certain of the officers of
ArthroCare, there would be no directors’ and officers’ insurance protection and thus this is a further
reason why they will not bring such a suit On the other hand, if the suit is brought derivatively, as
this action is brought, such insurance coverage exists and will provide a basis for the Company to
effectuate a recovery.

(i) ln order to bring this action for breaching their fiduciary duties the members
of the ArthroCare Board Would have been required to sue themselves and/or their fellow directors
and allies in the top ranks of the Company, who are their personal friends and with whom they have
entangling financial alliances interests and dependencies which they would not do.

65. y Plaintiff has not made any demand on shareholders of ArthroCare to institute this
, action since such demand would be a futile and useless act for the following reasons

(a) ArthroCare is a publicly traded company with approximately 26 million
shares outstanding and thousands of shareholders n

(b) Making demand on such a number of shareholders would be impossible for
plaintiff who has no way of finding out the names addresses or phone numbers of shareholders and

(c) Making demand on all shareholders would force plaintiff to incur huge
expenses assuming all shareholders could be individually identified

THE ST()CK OPTION BACKDATING SCHEME AND ITS IMPACT
ON ARTHROCARE’S FINANCIAL STATEMENTS

The Fiscal 1996 Form 10-K

66. On or about March 28, 1997, the Company filed its fiscal 1996 Form 10-K with the
SEC. The fiscal 1996 Form 10-K was simultaneously distributed to shareholders and the public.
` The fiscal 1996 Forrn 10-K included ArthroCare’s 1996 financial statements which were materially

false and misleading and presented in violation of GAAP7 due to improper accounting for the

_31_

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 33 of 50

 

backdated stock options As a result, ArthroCare’s compensation expense was understated and its
net earnings were overstated

The Fiscal 1997 Form 10-K

67. On or about April 3, 1998 the Company filed its fiscal 1997 Form 10-K with the SEC.
The fiscal 1997 Forrn 10-K was simultaneously distributed to shareholders and the public. The
fiscal 1997 Form 10-K included ArthroCare’ s 1997 financial statements which were materially false
and misleading and presented in violation of GAAP, due to improper accounting for the backdated
stock options As a result, ArthroCare’s compensation expense was understated and its net earnings

were overstated

The Fiscal 1998 Form 10-K

68. On or about April 2, 1999, the Company filed its fiscal 1998 Form 10-K with the

_ ,SEC. 'The_fiscal 19_98 Form lO-K was simultaneously distributed to shareholders and the public.

The fiscal 1998 Form lO-K included ArthroCare’s 1998 financial statements which were materially
false and misleading and presented in violation of GAAP, due to improper accounting for the
backdated stock options As»a result, ArthroCare’s compensation expense was understated and its

net earnings were overstated

The Fiscal 1999 Form 10-K405

69. On or about March 31, 2000, the Company filed its fiscal 1999 Form 10-K405 with
l the SEC. The 1999 Form lO-K405 was simultaneously distributed to shareholders and the public.
The 1999 Form 10-K405 included ArthroCare’s 1999 financial statements which were materially
false and misleading and presented in violation of GAAP, due to improper accounting for the
backdated stock options As aresult,` ArthroCare’s compensation expense was understated and its

net earnings were overstated

_32_

   
 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 34 of 50

The Fisc312000 Form 10-K405

70. On or about March 30, 2001, the Company filed its fiscal 2000 Form 10-K405 with
the SEC. The 2000 Form 10-K405 was simultaneously distributed to shareholders and the public.
The 2000 Form 10-K405 included ArthroCare’s 2000 financial statements which were materially
false and misleading and presented in violation of GAAP, due to improper accounting for the
backdated stock options As a result, ArthroCare’s compensation expense was understated and its
net earnings were overstated

The Fisca12001 Form 10-K

71. On or about March 29, 2002, the Company filed its fiscal 2001 Form lO-K with the

SEC. The 2001 Form 10-K was simultaneously distributed to shareholders and the public. The

2001 Form 10-K included ArthroCare’s 2001 financial statements which were materially false and

misleading and presented in violation of GAAP, due to improper accounting for the backdated stock

options As ares`ult, ArthroCare’s compensation expense was understated and its net earnings were
overstated

The Fisca12002 Form 10-K

72. On or about March 31, 2003, the Company filed its fiscal 2002 Form lO-K with the
SEC. The 2002 Form lO-K was simultaneously distributed to shareholders and the public. The
2002 Form 10-K included ArthroCare’s 2002 financial statements which were materially false and
misleading and presented in violation of GAAP, due to improper accounting for the backdated stock
' options As a result, ArthroCare’s compensation expense was understated and its net earnings were

overstated

The Fisca12003 Form 10-K

73. On or about l\/larch 15, 2004, the Company filed its fiscal 2003 Form lO-K with the

SEC. The 2003 Form 10-K was simultaneously distributed to shareholders and the public. The
_33_

 

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 35 of 50

2003 Form 10-K included ArthroCare’s 2003 financial statements which were materially false and
misleading and presented in violation of GAAP, due to improper accounting for the backdated stock
options As a result, ArthroCare’s compensation expense was understated and its net earnings were
overstated

The Fisc2112004 Form 10-K

74. On or about March 31, 2005, the Company filed its fiscal 2004 Form lO-K with the
SEC. The 2004 Form 10-K was simultaneously distributed to shareholders and the public. The
2004 Form 10-K included ArthroCare’s 2004 financial statements which were materially false and
misleading and presented in violation of GAAP, due to improper accounting for the backdated stock
options As a result, ArthroCare’s compensation expense was understated and its net earnings were

overstated

The Fiscal 2005 Form .10-.K

75. On or about March 24, 2006, the Company filed its fiscal 2005 Form 10-K with the
SEC. The 2005 Form 10-K was simultaneously distributed to shareholders and the public. The
2005 Form lO-K included ArthroCare’s 2005 financial statements which were materially false and
misleading and presented in violation of GAAP, due to improper accounting for the backdated stock
options As a result, ArthroCare’s compensation expense was understated and its net earnings were
overstated
' '76. 7 The materially false and misleading 1996-2005 Form lO-Ks described above were
reviewed, prepared and/or endorsed by the Director Defendants. §

DEFENDANTS’ SCHEME BEGINS TO UNRAVEL

77. The 1996-2006 Proxy Statements concealed Defendants’ option backdating scheme
Thus, the Company’s shareholders remained unaware of Defendants’ wrongdoing when voting on

proxy proposals between 1996 and 2006. ln fact, it was not until August 2006 that shareholders
_34-

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07` Page 36 of 50

 

learned that the Proxy Statements which they had relied upon for years were false and misleading
Defendants have been unjustly enriched at the expense of ArthroCare, which has received and will
receive less money from the Defendants when they exercise their options at prices substantially
lower than they would have if the options had not been backdated

78. On August 23, 2006, ArthroCare announced that the SEC had initiated an inquiry of
ArthroCare’s stock option grant practices

79. Each dollar diverted to Defendants via the option backdating scheme has come at the
expense of the Company. For example if Baker’ s 80,000 options granted in June 2001 had not been
manipulated, but rather had a strike price of $40,000, instead of the $23.00 strike price, which was
the trading low for the month, when Baker exercised those options the Company would receive $3.2
million instead of $ 1 .84 million - a cost to the Company of $1.3 6 million for this single instance of
option backdating

THE Ai)vERsE iMPACT`oF DEFENDANTS’ MIsCoNi)UCT

80. Unlike most companies which avoid such option backdating abuse by issuing stock
option grants at the same time each year, which eliminates the potential for backdating, Defendants
ensured that executives would not have any such restrictions Given the many times ArthroCare’s
grants were the low of the month in which options were granted the date of their stock option grants
was clearly more than merely coincidental

81. As a result of the backdating of options Defendants have been unjustly enriched at
the expense of ArthroCare, which has received and will receive less money from Defendants when
they exercise their options at prices substantially lower than they would have if the options had not

been backdated

_35_

 

 

Case 1:07-cv-00009-SS 'Document 1 Filed 01/04/07 Page 37 of 50

TOLLING OF THE STA'I`UTE OF LIMITATIONS

82. The Counts alleged herein are timely. As an initial matter, Defendants wrongfully
concealed their manipulation of the stock option plans through strategic timing and fraudulent
backdating, by issuing false and misleading Proxy Statements by falsely reassuring ArthroCare’s
public investors that ArthroCare’s option grants were being administered by a committee of
independent directors and by failing to disclose that backdated options were, in fact, actually issued
on dates other than those disclosed, and that strategically timed option grants were issued based on
the manipulation of insider information that ensured that the true fair market value of the Company’s
stock was in fact, higher than the publicly traded price on the date of the option grant

83. ArthroCare’s public investors had no reason to know of the Defendants’ breaches of
their fiduciary duties until August 2006 when the“Company announced it had initiated an internal
review of its stock option grant practices following an SEC inquiry at ArthroCare

84. Finally, as fiduciaries _of ArthroCare and its public shareholders the Defendants
cannot rely on any limitations defense where they withheld from ArthroCare’s public shareholders
the facts that give rise to the claims asserted herein, i.e., that the ArthroCare Board had abdicated its
fiduciary responsibilities to oversee the Company’s executive compensation practices and that the
option grant dates had been manipulated to maximize the profit for the grant recipients and,
accordingly, to maximize the costs for the Company.

COUNT I

Violations of §14(a) of the Exchange Act Against
All Defendants

85. Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein

-36_

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 38 of 50

86. Rule 14a-9, promulgated pursuant to §l4(a) of the Exchange Act, provides that no
proxy statement shall contain “any statement which, at the time and in the light of the circumstances
under which it is made, is false or misleading with respect to any material fact, or which omits to
state any material fact necessary in order to make the statements therein not false or misleading.” 17
C.F.R. §240.14a-9.

87. The 1996-2006 Proxy Statements violated §14(a) and Rule 14a-9 because they
omitted material facts including the fact that certain of the Defendants were causing ArthroCare to
engage in an option backdating scheme, a fact that Defendants were aware of and participated in
from at least 1996.

88. ln the exercise of reasonable care, Defendants should have known that the Proxy
Statements were materially false and misleading

89. . The misrepresentations and omissions in the Proxy Statements were material to
plaintiff in voting on each Proxy Statement.` The Proxy Statements were an essential link in the

' accomplishment of the'continuation of Defendants’ unlawful stock option backdating scheme, as
revelations of the truth would have immediately thwarted a continuation of shareholders’
endorsement of the directors’ positions the executive officers’ compensation and the Company’s
compensation policies

90. The Company was damaged as a result of the material misrepresentations and
omissions in the Proxy Statements

COUNT II
Accounting

91. Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein

_37_

   

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 39 of 50

92. At all relevant times Defendants as directors and/or officers of ArthroCare, owed the
Company and its shareholders fiduciary duties of good faith, care, candor and loyalty.

93. ln breach of their fiduciary duties owed to ArthroCare and its shareholders the
Defendants caused ArthroCare, among other things to grant backdated stock options to themselves
and/ or certain other officers and directors of ArthroCare and/or failed to properly investigate whether
these grants had been improperly made By this wrongdoing the Defendants breached their
fiduciary duties owed to ArthroCare and its shareholders

94. The Defendants possess complete and unfettered control over the improperly issued
stock option grants and the books and records of the Company concerning the details of such
improperly backdated stock option grants to certain of the Defendants.

95. `_ As a result of Defendants’ misconduct, ArthroCare has been substantially injured and
v damaged financially and is entitled to a recovery as a result thereof, including the proceeds of those
, improperly granted options which have been exercised and sold

96. Plaintiff demands an accounting be made of all stock option grants made to any of the
Defendants including without limitation the dates of the grants the amounts of the grants the
value of the grants the recipients of the grants the exercise date of stock options granted to any of
the Defendants as well as the disposition of any proceeds received by any of the Defendants via sale
or other exercise of backdated stock option grants received by those Defendants.

COUNT III

Breach of Fiduciary Duty and/or Aiding and Abetting
Against All Defendants

97. Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein

_38_

 

 

' Case 1:07-Cv-00009-SS Documentl Filed 01/04/07 Page 40 of 50

98. Each of the Defendants agreed to and did participate with Baker and Tighe, and the
other Defendants and/or aided and abetted one another in a deliberate course of action designed to
divert corporate assets in breach of fiduciary duties the Defendants owed to the Company.

99. The Defendants have violated fiduciary duties of care, loyalty, candor and
independence owed to ArthroCare and its public shareholders have engaged in unlawful self-dealing
and have acted to put their personal interests and/or their colleagues’ interests ahead of the interests
of ArthroCare and its shareholders

100. As demonstrated by the allegations above, Defendants failed to exercise the care
required, and breached their duties of loyalty, good faith, candor and independence owed to
ArthroCare and its public shareholders and they failed to disclose material information and/or made
material misrepresentations'to shareholders regarding Defendants’ option backdating scheme

101 . By reason of the foregoing acts practices and course of conduct, the Defendants have
failed to exercise ordinary care and diligence-in the exercise of their fiduciary obligations toward
ArthroCare and its public shareholders

102. As a proximate result of Defendants’ conduct, in concert with Baker and Tighe,
ArthroCare has been injured and is entitled to damages

COUNT IV

Abuse of Control Against All Defendants

103. Plaintiff incorporates by reference and realleges each and every allegation set forth
above, as though fully set forth herein
104. The Defendants employed the alleged scheme for the purpose of maintaining and
entrenching themselves in their positions of power, prestige and profit at, and control over,

ArthroCare, and to continue to receive the substantial benefits salaries and emoluments associated

with their positions at ArthroCare As a part of this scheme, Defendants actively made and/or

_39_

 

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 41 of 50

participated in the making of or aided and abetted the making of, misrepresentations regarding
ArthroCare

105. Defendants’ conduct constituted an abuse of their ability to control and influence
ArthroCare

106. By reason of the foregoing ArthroCare has been damaged

COUNT V
Gross Mismanagement Against All Defendants

107. Plaintiff incorporates by reference and realleges each and every allegation set forth
above, as though fully set forth herein

108. Defendants had a duty to ArthroCare and its shareholders to prudently supervise
manage and control the operations business and internal financial accounting and disclosure controls
of V,ArthroCare. v ,

y 109. Defendants by their actions and by engaging in the wrongdoing described herein,
abandoned and abdicated their responsibilities and duties with regard to prudently managing the
businesses of ArthroCare in a manner consistent with the duties imposed upon them by law. By
committing the misconduct alleged herein, Defendants breached their duties of due care, diligence
and candor in the management and administration of ArthroCare’s affairs and in the use and
preservation of ArthroCare’s assets

110. During the courseof the discharge of their duties Defendants knew or recklessly
disregarded the unreasonable risks and losses associated with their misconduct, yet Defendants
caused ArthroCare to engage in the scheme complained of herein which they knew had an
unreasonable risk of damage to ArthroCare, thus breaching their duties to the Company. As a result,
Defendants grossly mismanaged ArthroCare

111. By reason of the foregoing, ArthroCare has been damaged
_40_

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 42 of 50

COUNT VI
Constructive Fraud Against All Defendants

112. Plaintiff incorporates by reference and realleges each and every allegation set forth
above, as though fully set forth herein

1 13. As corporate fiduciaries Defendants owed to ArthroCare and its shareholders a duty
of candor and full accurate disclosure regarding the true state of ArthroCare’s business and assets
and their conduct with regard thereto.

114. As a result of the conduct complained of, Defendants made, or aided and abetted the
making of, numerous misrepresentations to and/or concealed material facts from ArthroCare’s
shareholders despite their duties to, inter alia, disclose the true facts regarding their stewardship of
ArthroCare Thus they have committed constructive fraud and violated their duty of candor.

115. By reason of the foregoing, ArthroCare has been damaged

‘COUNT VII `
Corporate Waste Against All Defendants

116. Plaintiff incorporates by reference and realleges each and every allegation set forth
above, as though fully set forth herein

117. By failing to properly consider the interests of the Company and its public
shareholders by failing to conduct proper supervision, and by giving away millions of dollars to
Defendants via the option backdating scheme, Defendants have caused ArthroCare to waste valuable
corporate assets

118. As a result of Defendants’ corporate waste, they are liable to the Company.

-41_

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 ' Page 43 of 50

COUNT VIII
Unjust Enrichment Against All Defendants

119. Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein
' `120. ‘ As a result ofthe conduct described above, Defendants will be and have been unjustly

` enriched at the expense of ArthroCare, in the form of unjustified salaries benefits bonuses stock
option grants and other emoluments of office

121. All the payments and benefits provided to the Defendants were at the expense of
ArthroCare The Company received no benefit from these payments ArthroCare was damaged by
such payments

122. Certain of the Defendants sold ArthroCare stock for a profit during the period of
dec,eption, misusing confidential non-public corporate information These Defendants should be
required to'di`s"gorg`e the gains which they have and/or will otherwise unjustly obtain at the expense
of ArthroCare A constructive trust for the benefit of the Company should be imposed thereon

COUNT IX
Against the Officer Defendants for Rescission

123. Plaintiff incorporates by reference and realleges each and every allegation contained
above as though fully set forth herein

124. As a result of the acts alleged herein, the stock option contracts between the Officer
Defendants and ArthroCare entered into during the relevant period were obtained through
Defendants’ fraud, deceit and abuse of control. Further, the backdated stock options were illegal
grants and thus invalid as they were not authorized in accordance with the terms of the publicly filed
contracts regarding the Officer Defendants’ employment agreements and the Company’s stock

option plan which was also approved by ArthroCare shareholders and filed with the SEC.

_42_

 

 

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 44 of 50

125. All contracts which provide for stock option grants between the Officer Defendants
and ArthroCare and were entered into during the relevant period should, therefore, be rescinded
with all sums paid under such contracts returned to the Company, and all such executory contracts

cancelled and declared void

COUNT X

Against the lnsider Selling Defendants for Breach of Fiduciary
Duties for lnsider Selling and Misappropriation of Information

126. Plaintiff incorporates by reference and realleges each and every allegation set forth
above, as though fully set forth herein

127 . At the time of the stock sales set forth herein, the lnsider Selling Defendants knew the
information described above, and sold ArthroCare common stock on the basis of such information

128. The information described above was proprietary non-public information concerning
the Company’s financial condition and future business prospects lt was a proprietary asset
belonging to the Company, which ther lnsider Selling Defendants used for their own benefit when
they sold ArthroCare common stock.

129.' At the time of their stock sales the lnsider Selling Defendants knew that the
Company’s revenues were materially overstated The lnsider Selling Defendants’ sales of
ArthroCare common stock while in possession and control of this material adverse non-public
information was a breach of their fiduciary duties of loyalty and good faith

130. Since the use of the Company’ s proprietary information for their own gain constitutes
a breach of the lnsider Selling Defendants’ fiduciary duties the Company is entitled to the
imposition of a constructive trust on any profits the lnsider Selling Defendants obtained thereby.

PRAYER FOR RELIEF

WHEREFORE, plaintiff demands judgment as follows

_43_

 

§ Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 45 of 50

 

A. Awarding money damages against all Defendants jointly and severally, for all losses
and damages suffered as a result of the acts and transactions complained of herein, together with pre-
judgment interest, to ensure Defendants do not participate therein or benefit thereby;

B. Directing all Defendants to account for all damages caused by them and all profits
and special benefits and unjust enrichment they have obtained as a result of their unlawful conduct,
including all salaries bonuses fees stock awards options and common stock sale proceeds and
imposing a constructive trust thereon;

C. Directin g ArthroCare to take all necessary actions to reform and improve its corporate
governance and internal control procedures to comply With applicable law, including but not limited
to, putting forward for a shareholder vote resolutions for amendments to the Company’s By-Laws or

ii Articles § of lncorporation and taking such other action as may be necessary to place before
1 g shareholders for a vote adoption of the following Corporate Govemance policies
§ l w l § (i)` v a proposal requiring that the office of CEO of ArthroCare and Chairman of the
ArthroCare Board of Directors be permanently held by separate individuals and that the Chairman of
the ArthroCare Board meets rigorous “independent” standards
(ii) a proposal to strengthen the ArthroCare Board’s supervision of operations and

develop and implement procedures for greater shareholder input into the policies and guidelines of

the Board;
(iii) appropriately test and then strengthen the internal audit and control function;
(iv) rotate independent auditing firms every five years
(v) l control and limit insider stock selling and the terms and timing of stock option
grants and

(vi) reform executive compensation

_44_

 

 

Case 1:07-cv-OOOOQ-SS Documentl Filed 01/04/07 Page 46`0f50

D. Orden`ng the imposition of a constructive trust over Defendants’ stock options and

any proceeds derived therefrom;

E. Awarding punitive damages

F. Awarding costs and disbursements of this action, including reasonable attorneys’,

accountants’ and experts’ fees; and

G. Granting such other and further relief as this Court may deem just and proper.

JURY DEMANI)

Plaintiff demands a trial by jury.

DATED; January§’_, 2007

PROVOST & UMPHREY LAW FIRM, LLP
JOE KENDALL

State Bar No. 11260700

WILLIE C. BRISCOE

S_tate Bar No. 24001788

delwwf

 

\J JoE KENDALL

3232 McKinney Avenue, Suite 700
Dallas, TX 752()4

Telephone: 2l4/744-3000
214/744-3015 (fax)

LERACH COUGHLIN STOIA GELLER
RUDMAN & ROBBINS LLP

WILLIAM S. LERACH

DARREN J. ROBBINS

TRAVIS E. DOWNS llI

655 West Broadway, Suite 1900

San Diego, CA 92101-330l

Telephone: 619/23l-l058

6l9/23l-7423 (fax)

_45-

 

CaSe 1:07-cv-000_09-SS Document 1 Filed 01/04/07 Page 47 of 50

 

THE WEISER LAW FIRM, P.C.
ROBERT B. WEISER

121 N. Wayne Avenue, Suite 100
Wayne, PA 19087

Telephone: 610/225-2677
610/225-2678 (fax)

Attorneys for Plaintiff

S:\CptDrafi\Delivative\Cpt ArthroCare Dew.doc

 

_46_

 

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 48 of 50

,4 121 Q`

ARTHROCARE CORPORATION VERIFICAT|ON
l, Marvin Duane Lee, hereby verify that l am familiar with the allegations in the
Complaint, and that l have authorized the filing of the Complaint, and that the foregoing is true

and correct to the best of my knowledge, information and belief.

DATE:~_zt/no_z__ec %/Ma;, §§ @@L

stGNATURE

 

 

Case 1:07:cv-00009-SS Document 1 Filed 01/04/07 Page 49 of 50

cl§\.lS 44 (Rev. 11/04)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ot`pleadi`ngs or other papers as required by law, except as provided
by local rules ot`court. This fonn, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the Civil docket She€t. (SEE INSTRUCTlONS ON THE REVERSE OF THE FORM.)

l. (a) PLAINTIFFS
MARVIN DUANE LEE, Deiivatively on Behalf of Arthrocare Corporation

 

DEFENDANTS

MlCl'l.AEL A. BAK_ER, M]CHAEL THOMAS GLUK, FERNANDO V. SANCHEZ, RICHARD A. CHRISTENSEN, JOl-l'N H.
GIROUX, SR., JOHN R. 'I'IGHE, R()N UNDERWOOD, DAVID APPLEGATE, BRUCE FROTl-DKO, JOHN '!'. RAFFLE, JE,AN A,
WOLOSZKO, BARBARA D. BOYAN, DAVID F. HTZGERALD, IAMES G. FOSTER, TORD B. LENDAU. IERKY P.
WlDM.AN AND PEI'ER 1.. WILSON

County ofResidence of First Listed Defendant TraViS County, TeXaS
(lN U.S. PLAlNTlFF CASES ONLY)

NOTE: IN LAND CONDEMNATION (`ASES, USE THE LOCATION OF THE
LAND INVOLVED.

A07CA009 'SS\

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLA[NTIFF CASES)

(c) Airomey’s (Fimi Name, Ad<iress, and reiephene Number) Atrorneys (ifi<newn)

Joe Kendall, Provost Umphrey Law Firm, LLP, 3232 McKiiiney Avenue, Suite 700, Dallas,
Texas 75204, telephone 214-744-3000 »

 

 

 

 

 

 

 

 

 

 

 

 

 

 

H. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES(Place ali “X" in Orie Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
Cl 1 U.S. Goveminent 3 F ederal Question PTF DEF PTF DEF
Plaintiff (U.S. Govei'mnerit Not a Party) Citizen ofThis State g 1 g 1 Incorporated or Pri`nci`pal Place g 4 i:l 4
ofBusixiess ln This State
g 2 U.S. Govemment ij 4 Divei'sity Citizen of Anotlier State ij 2 g 2 lncorporated and Principal Place ij 5 ij 5
Defe“da“‘ (iiidieate Ciiizenehip er Pariiee in item iii) °f B“S“‘€SS l" A"°‘he' S‘ate
Citizen or Subject ofa g 3 g 3 Foreign Nation ij 6 g 6
Foreigii Country
IV. NATURE OF SUIT Place an “X" in One Box Only)
CONTRACT TORTS FORFEITUREIPENALTY BANKRUPTCY OTHER STATUTES 1
ij 110 insurance PERSONAL INJURY PERSONAL 1NJURY g 610 Agriculture ij 422 Appeal 28 USC 158 g 400 State Reapportioninent
ij 120 Marine ij 310 Aii'plane ij 362 Pei'scnal lnjury - ij 620 Other Food & Drug g 423 Withdrawal g 410 Antitrust
n 130 Miller Act ij 315 Airplane Product Med. Malpractice l:l 625 Drug Related Seizure 28 USC 157 n 430 Banks and Banking
ij 140 Negotiable lnstruinent I_iab\`lity g 365 Personal lnjury - of Property 21 USC 881 g 450 Coinmerce
ij 150 Recovery of 0verpayinent i:i 320 Assault, Libel & Product Liability ij 630 Liquor Laws PROPERTY RlGHTS g 460 Deponation
& Enforceinent of Judginent Slander g 368 Asbestos Personal g 640 R.R. & Truck g 820 Copyrights g 470 Racketeer lnnuenced and
ij 151 Medicare Act |:i 330 Federal Einployers’ lnjury Product g 650 Airline Regs. g 830 Patent Corrup¢ Organizations
ij 152 Recovery of Defaulted Liabi'lity ’ Liability ij 660 Occupational ij 840 Trademark ij 480 Consumer Credit
St'ud€nt Loans ij 340 Maiine PERSONAL PROPERTY Safety/Health ij 490 Cable/Sat TV
(Exei. vererens) Cl 345 Maniie Product El 370 other mud El 690 other Cl 810 seieeiive service
g 153 Recovcry of OVeipayinent Liability g 371 Truth iri Lendi`ng LAM SOClAL SECURlTY iii 850 Securities/Coininodities/
of Veteraii’s Benet'its ij 350 Motor Vehicle ij 380 Other Personal g 710 Fair Labor Standards ij 861 HlA (1395ff) Exchange
g 160 Stockholders’ Suits Ci 355 Motor Vehicle Property Dainage Act g 862 Black Lung (923) |:l 875 (`iistomer Challenge
L_.l 190 Other Contract Product Lial)ility ij 385 Property Dainage g 720 Labor/Mgmt. Relations ij 863 DlWC/DIWW (405(g)) 12 USC 3410
ij 195 Contract Product Liability |:i 360 Other Personal Product Liability ij 730 Labor/Mgint.Repoi'ting ij 864 SSID Title XVl ij 890 Otlier Statutory Actions
ij 196 Francliise liijury & Disclosure Act ij 865 RSI (405(g)) ij 891 Agricultural Acts
l REAL PROPERTY CIVIL RIGH'I`S PRISONER PETlTlONS g 740 Raiiway Labor Act FEDERAL TAX SUITS ij 892 ECOnOlnic Stabilization Act
ij 210 Land Condemnation Cl 441 Voting ij 510 Motions to Vacate ij 790 Other Labor L\`tigatioii g 870 Taxes (U,S. Plaintiff g 893 Environineiital Matters
ij 220 Foreclosure ij 442 Einployinent Senteiice |:' 791 Einpl. Ret. Iric. or Dei`endant) g 894 Energy Ailocation Act
ij 230 Reiit Lease & Ejectment g 443 Housing/ I-labeas Corpus: Secun`ty Act ij 871 IRSiThird Party ij 895 Freedom of lnfoi'mation
El 240 rene re Land Aeeoimnediiiiens IJ 530 Geiieral 26 UsC 7609 Aei
ij 245 Tort Product Liability g 444 Welfare g 535 Death Penalty L__l 900Appeal ofFee Detennination
0 290 All Other Real Property ij 445 Airier. w/Disabilities - ij 540 Mandamus & Othei' Under Equal Access
Einployinent ij 550 Civil Riglits to .lustice
U 446 Ainer. w/Disabilities - ij 555 Prison Condition ij 950 Coiistitutionality of
Otlier State Statutes
|:i 440 Other Ci`vi'l Rights

 

 

 

 

 

 

V. ORIGIN (Place an "X" in One Box Only) ‘ ‘ App€ai`io Distrin

® 1 2 g 3 |:| 4 _ n 5 Transten'ed ii'om n 6 g 7 Judge from
Original Removed from Remanded from Reinstated oi' another district Multidistrict Magistrate
Proceeding Stalte C urt Appellate Court Reot)ened (specity) Litigation Judgment

 

(.`ile the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

VI. CAUSE OF ACTION

Brjei`description oi`cause: _ _ _ _ _
Violations of the Federal Securities Laws and State Law Claims for Breach of Fiduciary Duty

 

 

 

 

 

 

VII. REQUESTED IN l:| CHECK iF THis is A CLASS AcTioN DEMANi) s CHECK YES only if demanded in complaint
COMPLA|NT: UNDER F-R~C-P- 23 JURY i)i:iviAND; 121 ves El No
viii. RELATED CASE(S) 8 _ , _
iF ANY ( e° ‘“S"“°“°“S)' iui)oa ooci<Er Nui\iBER
DATE » SIGNATURE F ATTORNEY OF R 1 ORD
i / 3 / 6 ci’ /ic’€ iZ\A/~»
FoR oFFiclu§ _P-N' Y § § U \
RE(`EIPT ` § AI\/IOUNT ' APPLYH\`G IFP .lUDGE G.`.lUDGE

 

A082
(Rev. 4/90)

RECEIVED FROM K>

Fund
6855XX
604700

508800
085000
086900
322340
322350
322360
1 43500
322380
322386
1 21 000
1 29900
504100
61 3300
510000
51 01 00

 

Case 1:07-cv-00009-SS Document 1 Filed 01/04/07 Page 50 of 50

OR|G|NAL 404445

RECE|FT FOR PAYMENT
UN|TED STATES DISTRiCT COURT
for the

wEernN ois'micraoF rExAs: mm
miss M\MM, 4 100 `

   
 
  
  

 

 

 

 

 

 

 

 

 

 

 

ACCOUNT AMOUN`F
Deposit Funds 0 X(Fi w ((i 0 D D
Registry Funds _
General and Specia| Funds gm i q 0 DD
lmmigration Fees
Attomey Adrnission Fees _O_g@¢ i 0 0 0 D
§"‘l“g ';‘l’fsb|. t. roTAL 350 ~D 0
C::yope:s lea lens Case Number or Other F\‘eference
Miscei|aneous Fees \ C'? ~ w ,_ DOQ
interest
Recoveries of Court Costs

Restitution to U.S. Government AM CQ\.Q,Q/

Conscience Fund

Gitts '

Crime Victims Fund

Unc|aimed Monies i\Q/C \,) ‘ %@\lQ/\d
Civii Filing Fee (Vz)

Ftegistry Fee

$Checks and drafts are accepted subject to col-
lection and full credit will only be given when the
check or draft has been accepted by the in cial j
institution on which it was drawn. \D ”\

 

DATE

\»- de 2001

Cash §Yck M.O. Credit DEPU C K:

 

 

 

 

 

 

